Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 1 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 2 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 3 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 4 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 5 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 6 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 7 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 8 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                  Exhibit B: Financial Projections Page 9 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 10 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 11 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 12 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 13 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 14 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 15 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 16 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 17 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 18 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 19 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 20 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 21 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 22 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 23 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 24 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 25 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 26 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 27 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 28 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 29 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 30 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 31 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 32 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 33 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 34 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 35 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 36 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 37 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 38 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 39 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 40 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 41 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 42 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 43 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 44 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 45 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 46 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 47 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 48 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 49 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 50 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 51 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 52 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 53 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 54 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 55 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 56 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 57 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 58 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 59 of 60
Case:11-00716-BKT12 Doc#:37-2 Filed:03/30/11 Entered:03/30/11 15:38:53   Desc:
                 Exhibit B: Financial Projections Page 60 of 60
